 8:16-cr-00213-JMG-SMB                  Doc # 28       Filed: 08/31/16   Page 1 of 1 - Page ID # 52




                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                          )
                                                   )               8:16CR213
                           Plaintiff,              )
                                                   )
        vs.                                        )               ORDER
                                                   )
JAMES MANSKE and                                   )
ALEX PEARSON,                                      )
                                                   )
                           Defendants.             )


        This matter is before the court on the motions to continue by defendants James Manske

(Manske) (Filing No. 24) and Alex Pearson (Pearson) (Filing No. 26). Both defendants seek a

ninety-day continuance of the trial scheduled for September 26, 2016. Manske and Pearson have

filed affidavits wherein they agree to the motion and understand the time may be excluded under

the computations of the Speedy Trial Act (Filing Nos. 25 and 27). Upon consideration, the motions

will be granted in part.

        IT IS ORDERED:

        1.      Manske's and Pearson's motions to continue trial (Filing Nos. 24 and 26) are

granted, in part, as set forth below.

        2.      Trial of this matter as to both defendants is re-scheduled for December 12, 2016,

before Judge John M. Gerrard and a jury. The ends of justice have been served by granting such

motions and outweigh the interests of the public and the defendants in a speedy trial. The

additional time arising as a result of the granting of the motions, i.e., the time between August 31,

2016, and December 12, 2016, shall be deemed excludable time in any computation of time under

the requirement of the Speedy Trial Act for the reason that defendants' counsel require additional

time to adequately prepare the case. The failure to grant additional time might result in a

miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).

        DATED this 31st day of August, 2016.
                                                            BY THE COURT:

                                                            s/ Thomas D. Thalken
                                                            United States Magistrate Judge
